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  4                        UNITED STATES DISTRICT COURT
  5                      CENTRAL DISTRICT OF CALIFORNIA
  6
  7    ANASTASIYA KISIL, Mother and               Case No. 8:22-cv-01164-JVS-ADSx
       Natural Guardian of “JOHN DOE,” an
  8    Infant, Individually and on Behalf of      CLASS ACTION
  9    Others Similarly Situated,
                                                  ORDER GRANTING
                            Plaintiff,            PLAINTIFFS’ JOINT
 10          v.                                   UNOPPOSED MOTION TO
 11                                               CONSOLIDATE CASES [44]
       ILLUMINATE EDUCATION, INC.,                Hearing Date: October 3, 2022
 12    d/b/a PUPIL PATH,                          Time:         1:30 pm
                                                  Judge:        Hon. James V. Selna
 13                         Defendant.            Courtroom:    10C
 14
 15    LUCAS CRANOR, Individually and on Case No. 8:22-cv-01404-JVS-ADSx
       Behalf of All Others Similarly Situated,
 16
                            Plaintiff,
 17
             v.
 18
       ILLUMINATE EDUCATION, INC.,
 19
                            Defendant.
 20
 21    SARAH CHUNG, Individually and on Case No. 8:22-cv-01547-JWH-DFM
       Behalf of All Others Similarly Situated,
 22
                            Plaintiff,
 23
             v.
 24
       ILLUMINATE EDUCATION, INC.,
 25
                            Defendant.
 26
 27
 28

                                                                 Case No. 8:22-cv-01164-JVS-ADSx
         ORDER GRANTING PLAINTIFFS’ JOINT UNOPPOSED MOTION TO CONSOLIDATE CASES
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  1          Having considered Plaintiffs’ Joint Motion to Consolidate Cases, and being
  2    fully advised in the matter, the Court hereby GRANTS Plaintiffs’ Joint Unopposed
  3    Motion to Consolidate Cases. The Court finds that pursuant to Federal Rule of Civil
  4    Procedure 42(a), Plaintiffs have shown that the actions titled Lucas Cranor v.
  5    Illuminate Education, Inc., Case No. 8:22-cv-01404-JVS-ADS, Anastasiya Kisil v.
  6    Illuminate Education, Inc. d/b/a Pupil Path, Case No. 8:22-cv-01164-JVS-ADS,
  7    and Sarah Chung v. Illuminate Education, Inc, Case No. 8:22-cv-01547-JWH-DFM
  8    “involve a common question of law or fact,” and therefore should be consolidated.
  9        The October 2, 2022 hearing is vacated.


  10         IT IS SO ORDERED.
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  11
 11    DATED: September 22, 2022
                                                  The Honorable James V. Selna
                                           •      United States District Judge
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          ORDER GRANTING PLAINTIFFS’ JOINT UNOPPOSED MOTION TO CONSOLIDATE CASES
